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                                                                     USDC SDNY
                                                                     DOCUMENT
 UNITED STATES DISTRICT COURT
                                                                     ELECTRONICALLY FILED
 SOUTHERN DISTRICT OF NEW YORK
                                                                     DOC #:
                                                         x
                                                                     DATE FILED: 10/11/2019
 RV SKINCARE BRANDS LLC,

                                        Plaintiff,                Civil Action No.: 1:18-cv-08411-VEC

 V.
                                                                  JOINT STIPULATION RE
DIGBY INVESTMENTS LIMITED, ET AL., :                              CASE CAPTION

                                        Defendants.
                                                         x

                Pursuant to the Court's request at the September 27, 2019 Status Conference, and by and

through their respective counsel, Plaintiff RV Skincare Brands LLC and Defendant Quick Box,

LLC, hereby agree and stipulate to amend the case caption to include the following defendants

that were added in the Second Amended Complaint (ECF No. 88): Ontario Limited, Tre

Marketing Internet Ltd., Khal Worldwide and Domain Name Defendants, verorevive.org,

verocream.org,                verorevivecream.com,        aurarevivecream.org,        aurarevivecream.net,

aurarevivecream.corn,            reviveultime.net,    reviveultimeproducts.com,    revivultimecream.com,

revivultime.net, and revivultime.org. The revised caption is set forth below:



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

.............          ....




RV SKINCARE BRANDS LLC,

                                 Plaintiff,                       Civil Action No.: 1:18-cv-08411-VEC

V.

DIGBY INVESTMENTS LIMITED; QUICK BOX
LLC; ONTARIO LIMITED; THE MARKETING
INTERNET LTD.; KHAL WORLDWIDE; and Internet
Domain Names, GetReviveSkin.com, et al.

                                 Defendants.



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        Case 1:18-cv-08411-VEC Document 106 Filed 10/11/19 Page 2 of 2




Dated: October 11, 2019

By: /s/ Maria A. Scungio                   By: /s/ Damon W.D. Wright
Maria A. Scungio                           Damon W.D. Wright
ROBINSON & COLE LLP                        GORDON REES SCULLY
666 Third Avenue, 20th Floor               MANSUKHANI, LLP
New York, New York 10017                   1140 Third Street NE
Attorneys for Plaintiff RV Skincare Brands Washington, D.C. 20002
LLC                                        Attorneysfor Defendant Quick Box, LLC



      Application GRANTED. The Clerk of Court is respectfully directed to
      update the docket sheet to reflect all of the parties named above, including
      each of the domain name defendants.

       SO ORDERED.                 Date: 10/11/2019




       HON. VALERIE CAPRONI
       UNITED STATES DISTRICT JUDGE




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